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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                     Plaintiff

vs.                                                                 COURT NO. 5:01cr15bRS-003

CHADWICK LYNN ENGLE                                                                     Defendant
a/k/a Chadwick L. Smearman

                         ORDER ALLOWING REMISSION ON FINE

       This cause came on for consideration on Motion (#60) of the United States of America in

accordance with the provisions of 18 U.S.C. 3573 (amended November 18, 1989) for remission of

all of the unpaid portion of the fine imposed on February 4, 2002, in this cause; the Court has

considered the Motion and finds that it is well taken and should be granted.

       Wherefore, all of the unpaid portion of the fine imposed on February 4, 2002, is hereby

remitted.

       SO ORDERED this the 23rd            day of August , 2012.

                                             s/David Bramlette
                                             HONORABLE DAVID C. BRAMLETTE, III
                                             UNITED STATES DISTRICT COURT JUDGE
